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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO.: 4:19-cr-141

AUSTIN RUBY, et al.
                             PROTECTIVE ORDER

       This cause is before the Court on the Government's Unopposed Motion for

Protective Order in the above referenced case. The Court, having reviewed the

motion and being otherwise fully advised in the premises, finds that the motion is

well taken.

       NOW, THEREFORE, the defined terms referred to herein shall have the

following meanings: (1) "Discoverable Material" refers to material subject to

disclosure pursuant to Fed. R. Crim. P. 16; (2) "Sealed Items" refers to documents

previously sealed by the Court (3) "3500 Material" refers to material to be provided

to defendants pursuant to the Government's disclosure obligations under 18 U.S.C.

§ 3500, Fed. R. Evid. 404(b), as well as the Brady and Giglio decisions; (4)

"Defendants" refers to the defendants, and any future defendants, in the above

referenced case; (5) "Defense Counsel" refers to the counsel of record for any

defendant, or future defendant, in the above referenced case.

       IT IS, HEREBY, ORDERED (1) that all Discoverable Material disclosed in

this case, and any copies thereof, shall be kept in the constant care, custody and
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control of Defense Counsel; (2) that any review of Discoverable Material shall take

place in Defense Counsel office or at the detention facility where any Defendant is

housed; (3) that copies of Discoverable Material shall not leave the custody of

Defense Counsel or be left at any Defendant's detention facility; (4) that

Discoverable Material, as well as its contents, shall not be discussed with, or

disseminated / disclosed to, anyone other than Defendants or Defense Counsel, or

the staff of Defense Counsel (full time secretaries and attorneys formally associated

with the law firm), except upon the express authorization of this Court.

      IT IS FURTHER ORDERED (1) that redacted copies of the Sealed Items shall

be provided to Defense Counsel as Discoverable Material; (2) that if Defense

Counsel wish to see unredacted copies of the Sealed Items, then such unredacted

copies shall be viewed in, but not taken from, the Government's office; and (3) that

the Sealed Items shall remain sealed after the attorneys have been provided redacted

copies.

      IT IS FURTHER ORDERED (1) that all 3500 Material disclosed in this case,

and any copies thereof, shall be kept in the constant care, custody and control of

Defense Counsel; (2) that any review of 3500 Material shall take place in Defense

Counsel office or at the detention facility where any Defendant his housed; (3) that

Defense Counsel shall return or destroy all 3500 Material (including all copies

thereof) at the close of the trial or when any appeal has become final; (4) that 3500
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Material shall not leave the custody of Defense Counsel or be left at any detention

facility; (5) that 3500 Material, as well as its contents, shall not be discussed with,

or disseminated / disclosed to, anyone other than the Defendants and Defense

Counsel, or the staff of their counsel (full time secretaries and attorneys formally

associated with the law firm), except upon the express authorization of this Court.



      SO ORDERED, this the 27th                 day of November 2019.



                                               /s/ Jane M. Virden
                                              JANE M. VIRDEN
                                              United States Magistrate Judge
                                              Northern District of Mississippi
